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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

LAWRENCE ROSSI
Plaintiff, : CIVIL ACTION

VS. : JURY TRIAL DEMANDED

KIMBERLY BUGGEY-DAVIES,
in her official and individual capacities

and

 

The OLD FORGE POLICE DEPARTMENT : NO:
Defendants. :

 

COMPLAINT
AND NOW comes the Plaintiff, LAWRENCE ROSSI (“ROSSI”) by and

through the undersigned counsel, Jason J. Mattioli, Esquire and Michael J. Ossont,
Esquire of The Mattioli Law Firm and file the following Complaint and in support

thereof, aver as follows:
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I. INTRODUCTION

1. This is an action for money damages, declaratory, and injunctive relief
brought pursuant to 42 U.S.C. §§ 1983 and 1988, the Fourth and Fourteenth
Amendments to the United States Constitution, and under the laws of the
Commonwealth of Pennsylvania, against the OLD FORGE POLICE
DEPARTMENT and Officer KIMBERLY BUGGEY-DAVIES (“BUGGEY-
DAVIES”), a police officer employed by the OLD FORGE POLICE
DEPARTMENT, in her official and individual capacities.

2. Plaintiff ROSSI alleges that the Defendants’ actions were in violation
of the Plaintiff's Fourth and Fourteenth Amendment rights as well as the laws of
the Commonwealth of Pennsylvania.

3. On or about January 27, 2021, ROSSI was charged with one (1) count
of Def Trespass Actual Communication To (S); 18 Pa. C.S. § 3503(b)(1). That
citation would later be withdrawn. A copy of the Non-Traffic Docket Sheet is
attached as Exhibit “A”.

4. Further, on or about April 7, 2021, ROSSI was charged with one (1)
count of Harassment (M3); 18 Pa. C.S. § 2709(a)(4) and one (1) count of
Disorderly Conduct Engage in Fighting (S); 18 Pa. C.S. § 5503(a)(1) for an
incident that occurred approximately eight (8) months prior to the filing of charges.

Those charges would be dismissed at a preliminary hearing for lack of probable
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cause. A copy of the Criminal Complaint and Affidavit of Probable Cause is
attached as Exhibit “B”.

5. Plaintiff ROSSI alleges that Defendant BUGGEY-DAVIES
conducted not one (1) but two (2) false arrests of Plaintiff without cause along with
other violations of his rights.

6. Plaintiff alleges that these constitutional violations were committed as
a result of the policies and customs of the OLD FORGE POLICE DEPARTMENT
and the OLD FORGE POLICE DEPARTMENT is liable for the constitutional
violations committed against ROSSI.

7. Plaintiff believes and therefore avers that the OLD FORGE POLICE
DEPARTMENT maintained, tolerated, permitted and acquiesced in policies,
practices and customs that among other things subjected persons to unlawful
seizures and subjected persons to false arrest among other dangerous and unlawful
violations of person’s constitutional rights.

8. It is further believed and therefore averred that the OLD FORGE
POLICE DEPARTMENT condoned officers in the belief that violations of the
rights of persons would not be deemed a dereliction of duty or in violation of the
sworn oath of being a police officer in the Commonwealth of Pennsylvania, and
that such conduct would and will not adversely affect those officers’ opportunities

for promotion and/or other employment benefits.
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9. These actions and/or inactions by the OLD FORGE POLICE
DEPARTMENT were conducted and/or not conducted with deliberate
indifference, gross negligence and reckless disregard to the safety, security and

constitutional rights of persons, specifically in this case ROSSI.

Hf. JURISDICTION AND VENUE

10. This action arises out of violations of 42 U.S.C. § 1983 and the
common law.

11. This Court has jurisdiction over this action pursuant to 28 U.S.C. §§
1331, 1343 and 1367.

12. Venue is proper in this judicial district under 28 U.S.C. § 1391(b)
because all defendants reside in this State and all or some of the defendants
reside in this judicial district, and because a substantial part of the events or
omissions giving rise to the claim occurred in this judicial district.

Hil. THE PARTIES

13. Plaintiff, LAWRENCE ROSSI, is an adult and competent
individual residing in Old Forge, Lackawanna County, Pennsylvania.

14. Defendant, KIMBERLY BUGGEY-DAVIES, is an adult
individual, who, during all relevant times, was employed by the OLD

FORGE POLICE DEPARTMENT, as a police officer.
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15. All of BUGGEY-DAVIES’ actions and/or inactions were
conducted under color of state law. BUGGEY-DAVIES is sued in her
official and individual capacities. It is believed that BUGGEY-DAVIES is
a resident of Lackawanna County, Pennsylvania.

16. The OLD FORGE POLICE DEPARTMENT (“OFPD”) is
located in the Old Forge Borough, within their Borough Building, located
at 310 S Main St #2, Old Forge, Lackawanna County, Pennsylvania 18518.

17. OFPD is the police agency within the Old Forge Borough and
the Commonwealth of Pennsylvania. OFPD is a full-service law
enforcement agency which handles both traffic and criminal law
enforcement.

18. Ofc. BUGGEY-DAVIES was employed by the OFPD at all
times relevant to this Complaint.

IV. BACKGROUND

19. The Plaintiff incorporates paragraphs one (1) through eighteen (18)
by reference with the same force and effect as if they were set forth at length
herein.

20. On or about January 27, 2021, ROSSI was charged with one (1)
count of Def Trespass Actual Communication To (S); 18 Pa. C.S. § 3503(b)(1).

That citation would later be withdrawn. See, Exhibit “A”.
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21. Further, on or about April 7, 2021, ROSSI was charged with one (1)
count of Harassment (M3); 18 Pa. C.S. § 2709(a)(4) and one (1) count of
Disorderly Conduct Engage in Fighting (S); 18 Pa. C.S. § 5503(a)(1) for an
incident that occurred approximately eight (8) months prior to the filing of charges.
Those charges would be dismissed at a preliminary hearing for lack of probable
cause. See, Exhibit “B”’.

22. It appears as if Ofc. BUGGEY-DAVIES met with Larry SEMENZA
(“SEMENZA”’) the ex-police chief of OFPD and former boss of Ofc. BUGGEY-
DAVIES who now works for DUNBAR’S EVERGREEN LANDSCAPING
(““DUNBAR’S EVERGREEN”) and/or BIRCHWOOD ESTATES REALTY, LLC
(“BIRCHWOOD ESTATES”) which are both owned by GEORGE A. DUNBAR,
Jr. (“(DUNBAR’”’).

23. SEMENZA on behalf of DUNBAR made complaints to Ofc.
BUGGEY-DAVIES about ROSSI potentially trespassing on property that
DUNBAR believed was not ROSSI’s.

24. SEMENZA on behalf of DUNBAR claimed that ROSSI was walking
his dog on property that he was told by DUNBAR not to be on.

25. Interestingly, with respect to the property adjacent to ROSSI’s, a Deed
was recorded with the Lackawanna County Recorder of Deeds naming NICOLE

M. DUNBAR (“N. DUNBAR’”’) as the owner of the property adjacent to ROSSI’s
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not DUNBAR’S EVERGREEN, not BIRCHWOOD ESTATES and not DUNBAR
or SEMENZA. A copy of the Deed is attached as Exhibit “C”.

26. Therefore, at the time of the initial Complaint by SEMENZA on
behalf of DUNBAR, DUNBAR had no standing to make the complaint, regardless
of who is deemed to own the property where ROSSI was allegedly seen.

27. Furthermore, ROSSI claims title to the property where he was
allegedly trespassing and a civil action to quiet title has been filed in the
Lackawanna County Court of Common Pleas under docket number 2021 CV 1281.

28. Ofc. BUGGEY-DAVIES did no investigation into who was the owner
of the property where the alleged trespass took place.

29. Additionally, ROSSI informed Ofc. BUGGEY-DAVIES | that
BIRCHWOOD ESTATES, DUNBAR, DUNBAR’S EVERGREEN, _ his
contractors, subcontractors, employees as well as others were all continually
trespassing on land adjacent to property formerly owned by DUNBAR by having a
driveway/roadway paved which is half on NIDUNBAR’s property and/or property
disputed in the quiet title action and half on the neighboring property owned by the
Adomiaks.

30. Interestingly, no one who was seen to have continually trespassed

there was charged, no report was written and it appears as if the OFPD and
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BUGGEY-DAVIES are playing favorites due to the fact their ex chief 1s employed
by DUNBAR and/or his companies.

31. Ofc. BUGGEY-DAVIES charged ROSSI with a non-traffic citation
because SEMENZA, her old boss and confidant, said that ROSSI was trespassing
on land owned by DUNBAR, a blatant lie that could have easily been sorted out
had BUGGEY-DAVIES done any investigation whatsoever.

32. On March 19, 2021, counsel for the Plaintiff made Chief JASON
DUBERNAS (“DUBERNAS”) and BUGGEY-DAVIES aware of the improper
conduct of the OFPD with respect to charging ROSSI by way of letter. A copy of
the letter is attached as Exhibit “D”.

33. The letter pointed out that ROSSI was told by DUBERNAS that this
was a “civil matter”. However, BUGGEY-DAVIES then filed a “criminal’’
trespass charge at the behest of SEMENZA.

34. Additionally, it was explained that there was a dispute between who
owned the land and that ROSSI claims the land he was allegedly trespassing on as
his own.

35. What was clearly pointed out in the letter is that DUNBAR did not
have title to any of the properties where trespassing was complained of by

SEMENZA on behalf of DUNBAR.
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36. It is interesting that neither DUNBAR, his employees, his family
members, contractors and/or subcontractors were charged with trespass when it
was clearly pointed out by ROSSI’s counsel that a continuing trespass by all of
those individuals was occurring daily because the driveway paved by DUNBAR
and/or his companies encroaches on and travels over the land of the Adomiaks.
There is no easement or permission for the pavement or the continuous trespasses
to take place.

37. It appears BUGGEY-DAVIES found it proper to charge ROSSI with
a trespass on property not owned by the complainant but when ROSSI, through his
counsel, brought up the continuing trespass of DUNBAR and others, nothing was
done, no report was created and no charges were filed.

38. As no investigation was done to show that ROSSI actually trespassed
or that the complainant actually had the authority to make the complaint, the
Lackawanna County District Attorney’s Office through Deputy District Attorney
Brian Gallagher advised BUGGEY-DAVIES to withdraw the summary non-traffic
citation against ROSSI.

39. The non-traffic summary citation was withdrawn on April 1, 2021.

40. However, the violation of ROSSI’s rights did not end on April 1,

2021.
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41. As noted above, on April 7, 2021, Ofc. BUGGEY-DAVIES filed a
criminal complaint against ROSSI for one (1) count of Harassment (M3); 18 Pa.
C.S. § 2709(a)(4) and one (1) count of Disorderly Conduct Engage in Fighting (S);
18 Pa. C.S. § 5503(a)(1) for an incident that occurred approximately eight (8)
months prior on August 10, 2020.

42. DUNBAR was the alleged “victim” of those allegations.

43. These charges all stemmed from a meeting between, Deputy District
Attorney Brian Gallagher, DUNBAR, DUNBAR’s daughters, Chief DUBERNAS
and BUGGEY-DAVIES on March 22, 2021.

44. ROSSI filed an injunction with respect to a disputed easement with
BIRCHWOOD ESTATES on ROSSI’s property on March 18, 2021 before the
Honorable Vito P. Geroulo of the Lackawanna County Court of Common Pleas
just days before the meeting.

45. It is apparent that in light of the fact that the trespass charge was going
to be dismissed for lack of probable cause and that an injunction had been filed by
ROSSI, that DUNBAR needed to manipulate the OFPD and BUGGEY-DAVIES
to wrongfully charge ROSSI for an incident that happened seven (7) months prior
to this meeting and after DUNBAR and/or his associates, specifically SEMENZA
had contacted the OFPD and BUGGEY-DAVIES on several occasions to make

other complaints.

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46. Not one time or during any other conversation prior to March 22,
2021 did SEMENZA, DUNBAR or anyone else report this incident in any and/or
all of the communication they had with the OFPD and BUGGEY-DAVIES prior to
criminal trespass charges being brought and subsequently dismissed.

47. Furthermore, in September of 2020, after the “alleged incident” in
August of 2020, DUNBAR, with his counsel, went to the ROSSI property to meet
and discuss the properties with ROSSI and his counsel.

48. On March 24, 2021, the Honorable Vito P. Geroulo of the
Lackawanna Court of Common Pleas issued a ruling with respect to the injunction
that was not favorable to DUNBAR adding to DUNBAR’s dismay with the
situation and intensified the pressure on the OFPD, specifically BUGGEY-
DAVIES and her friendship with SEMENZA. A copy of the Order is attached as
Exhibit “E”.

49. The intimidation and manipulation continued as employees of
DUNBAR blocked a shed containing ROSSI’s property on or about May 4, 2021.
A set of photographs depicting the shed and the trailer are attached as Exhibit “F”’.

50. ROSSI contacted the OFPD and was told that they could not help
ROSSI retrieve the items from his shed, and it is unclear whether or not DUNBAR

or any of his employees were even contacted about the situation.

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51. A preliminary hearing was held on June 1, 2021 with respect to the
harassment and disorderly conduct charges. A transcript of the proceedings is
attached as Exhibit “G”’.

52. DUNBAR admitted during his testimony that he never made a report
about this alleged harassment incident until March 22, 2021. Exhibit “G” at pg.
21; lines 5-22.

53. DUNBAR did not make any reports, did not call the police, did not
go to the police station, and did not have his civil lawyers write a letter to ROSSI.
See, Exhibit “G”, pgs. 21-23, generally.

54. DUNBAR only made the report about this alleged “incident” after the
Commonwealth was forced to withdraw the citation for trespass and after the
ruling on the injunction was unfavorable, in a continued attempt by DUNBAR with
and through BUGGEY-DAVIES of OFPD to intimidate, harass and annoy ROSSI.

55.  Itis clear from the actions of BUGGEY-DAVIES and the OFPD that
DUNBAR, his employees and/or his companies are allowed to do whatever they
want in Old Forge and the OFPD will not intervene unless DUNBAR and/or
SEMENZA request their assistance, regardless of the rights of others, most
specifically, ROSSI.

56. To date, the issue of DUNBAR, his employees, family members, etc.

continuously trespassing has not been addressed, no report or mention of the

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attempted intimidation outside of the Lackawanna County Criminal Justice Center
has been documented and ROSSI has still not been helped by the OFPD to gain
lawful access to his shed and its belongings.

57. ROSSI’s rights continue to be violated every day.

COUNT ONE
Plaintiff ROSSI v. Defendant BUGGEY-DAVIES
42 U.S.C. § 1983- Fourth and Fourteenth Amendments

(Unlawful Seizure)

58. Plaintiff incorporates herein paragraphs one (1) through fifty-seven
(57) by reference with the same force and effect as if they were set forth at
length.

59. <A Plaintiff asserting a civil rights violation under §1983 must
establish (1) the depravation of a right secured by the United States Constitution
or federal law; and (2) that the alleged violation was committed by a person
acting under color of state law. Kneipp v. Tedder, 95 F.3d 1199, 1204 (3d Cir.

1996)(quoting Mark v. Borough of Hatboro, 51 F.3d 1137, 1141 (3d Cir 1995)).

 

60. BUGGEY-DAVIES was acting under the color of state law during
the alleged incident as a police officer with the OFPD.

61. On January 27, 2021, BUGGEY-DAVIES arrested ROSSI without
probable cause or doing any criminal investigation whatsoever into the claims

of a complainant that did not even have standing to make the complaint.

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62. This was confirmed when the Lackawanna County District
Attorney’s Office advised Ofc. BUGGEY-DAVIES to withdraw the charges.

63. Additionally, on April 7, 2021, Ofc. BUGGEY-DAVIES again
arrested ROSSI for an incident that allegedly took place on or about August 10,
2020, eight (8) months prior to these charges.

64. “The Fourth Amendment of the United States Constitution and
Article I, Section 8 of the Pennsylvania Constitution provide that individuals
shall be free from unreasonable searches and seizures.” Commonwealth _v.
Clark, 558 Pa. 157, 162, 735 A.2d 1248, 1251 (1999) (citation omitted).

65. “An arrest exists when the police intended to take the defendant
into custody and the defendant was subjected to the actual control and will of

the police.” Commonwealth v. Yandamuri, 639 Pa. 100, 124, 159 A.3d 503,

 

518 (2017), citing Commonwealth v. Lovette, 498 Pa. 665, 450 A.2d 975, 978

 

(1982).

66. Defendant BUGGEY-DAVIES’ filing of charges against ROSSI
was a seizure of his person and as set forth above was without probable cause in
both instances.

67. BUGGEY-DAVIES’ seizure, unlawful arrest and continued
prosecution of ROSSI, without probable cause, constituted a violation of his

Fourth and Fourteenth Amendment rights.

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68. BUGGEY-DAVIES’ conduct was therefore a deprivation, under
color of state law, of rights guaranteed to the Plaintiff under the Fourth and
Fourteenth Amendments to the United States Constitution.

69. BUGGEY-DAVIES’ conduct was conducted with malice.

70. As a result of BUGGEY-DAVIES’ violations of the Plaintiff's
Constitutional rights, ROSSI suffered substantial injuries and damage.

COUNT TWO
Plaintiff ROSSI v. Defendant BUGGEY-DAVIES

42 U.S.C. § 1983- Fourth and Fourteenth Amendments
(False Arrest)

71. Plaintiff incorporates by reference paragraphs one (1) through seventy

(70) by reference with the same force and effect as if they were set forth at length.
72. To bring a claim of either false arrest or false imprisonment under the
Fourth Amendment, a plaintiff must state: “(1) the detention of the person, and (2)

the unlawfulness of that detention.” Marable v. W. Pottsgrove Twp., 176 F. App’x

 

275, 280 (3™ Cir. 2006)(internal citations omitted).

73. In Pennsylvania, “[t]he elements of false imprisonment are (1) the
detention of another person, and (2) the unlawfulness of such detention.” Renk v.
City of Pittsburgh, 537 Pa. 68, 641 A.2d 289, 293 (Pa. 1994).

74. BUGGEY-DAVIES, without any probable cause falsely arrested

Plaintiff unlawfully thus violating ROSSI’s rights and causing him harm.

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75. BUGGEY-DAVIES engaged in two illegal arrests for unsupported
charges on both January 27, 2021 and April 7, 2021.

76. There was no evidence to support either of BUGGEY-DAVIES’
arrests of ROSSI for any of the charges she alleged.

77. After her investigations, BUGGEY-DAVIES had no evidence that
ROSSI was in violation of any of the criminal statutes cited by BUGGEY-
DAVIES in either her non-traffic citation and/or her criminal complaint.

78. Therefore, BUGGEY-DAVIES falsely arrested the Plaintiff
without probable cause.

79. As a result of BUGGEY DAVIES’ false arrest of the Plaintiff,
ROSSI has suffered substantial injuries and damage.

COUNT THREE
Plaintiff ROSSI v. Defendant BUGGEY-DAVIES

42 U.S.C. § 1983-Fourteenth Amendment
(Malicious Prosecution)

80. Plaintiff incorporates by reference paragraphs one (1) through
seventy-nine (79) by reference with the same force and effect as if they were set

forth at length.

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81. In Pennsylvania, in order to assert a cause of action for malicious
prosecution, a plaintiff must allege that: “(1) the defendants initiated a criminal
proceeding; (2) the criminal proceeding ended in plaintiff's favor; (3) the
proceeding was initiated without probable cause; and (4) the defendants acted
maliciously or for a purpose other than bringing the plaintiff to justice.”

Zlomsowitch v. E. Penn Twp., No. 3:11- CV -3131, 2012 U.S. Dist. LEXIS

 

62022 at *14 (M.D. Pa. May 3, 2012)(citing Kelly v. Gen’| Teamsters, Local

 

Union 249, 518 Pa. 517, 544 A.2d 940, 941 (Pa. 1988)).

82. As noted above, BUGGEY-DAVIES initiated a criminal proceeding
on or about January 27, 2021, ROSSI was charged with one (1) count of Def
Trespass Actual Communication To (S); 18 Pa. C.S. § 3503(b)(1).

83. Further, on or about April 7, 2021, ROSSI was charged with one (1)
count of Harrassment (M3); 18 Pa. C.S. § 2709(a)(4) and one (1) count of
Disorderly Conduct Engage in Fighting (S); 18 Pa. C.S. § 5503(a)(1) for an
incident that occurred approximately eight (8) months prior to the filing of charges.

84. The charge of Def Trespass Actual Communication To (S); 18 Pa.
C.S. § 3503(b)(1) was withdrawn by BUGGEY-DAVIES only after she was
advised by the Lackawanna District Attorney’s Office that she did not have the
requisite probable cause to make the arrest or a complainant that had standing to

complain.

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85. Further, the charges of Harassment (M3); 18 Pa. C.S. § 2709(a)(4)
and Disorderly Conduct Engage in Fighting (S); 18 Pa. C.S. § 5503(a)(1) were

dismissed by the Honorable Magisterial District Judge Paul Ware on June 1, 2021

because BUGGEY-DAVIES lacked the requisite probable cause to arrest ROSSI.

86. Clearly, all criminal proceedings against ROSSI ended in favor of the
Plaintiff as all charges were withdrawn by the Commonwealth and/or dismissed by
the courts.

87. BUGGEY-DAVIES cannot establish probable cause for the initiation
of either of the criminal proceedings against the Plaintiff.

88. BUGGEY-DAVIES acted maliciously and for a purpose other than
bringing the Plaintiff to justice.

89. As a result of BUGGEY-DAVIES’ malicious prosecution of the
Plaintiff, ROSSI has suffered substantial injuries and damage.

COUNT FOUR

Plaintiff ROSSI v. Defendant BUGGEY-DAVIES
42 U.S.C. § 1983-Fourteenth Amendment

(Abuse of Process)

 

 

90. Plaintiff incorporates by reference paragraphs one (1) through eighty-
nine (89) by reference with the same force and effect as if they were set forth at

length.

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91. To establish a claim for abuse of process the plaintiff must show that
the defendant, ‘“(1) used the legal process against the plaintiff, (2) primarily to
accomplish a purpose for which the process was not designed; and (3) harm has

been caused to the plaintiff.” Cruz v. Princeton Ins. Co., 972 A.3d 14, 15 n.1 (Pa.

 

Super. 2009)(citations omitted).

92. BUGGEY-DAVIES used the criminal legal process against the
Plaintiff to charge him with crimes unsupported by probable cause.

93. BUGGEY-DAVIES’ purpose in using such legal process was
primarily to accomplish a purpose for which it was not designed; to unlawfully
arrest the Plaintiff and intimidate, harass and annoy him on behalf of DUNBAR
and/or SEMENZA.

94. This abuse of the legal process proximately caused damage to the

Plaintiff.

COUNT FIVE
Plaintiff ROSSI v.
Defendants OLD FORGE POLICE DEPARTMENT
42 U.S.C. § 1983-Fourth and Fourteenth Amendments
(Supervisor and Municipal Liability)

 

95. Plaintiff incorporates by reference paragraphs one (1) through ninety-
four (94) by reference with the same force and effect as if they were set forth at

length.

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96. A municipality may be held liable if its policies, practices, and/or
customs are the moving force behind the deprivation of an individual’s

constitutional rights. See, Monell v. Dep’t of Soc. Servs. Of City of N.Y., 436 U.S.

 

658, 691 (1978).
97. Moreover, a municipality’s failure to properly train its employee and

officers can amount to a “custom” that will trigger liability under Section 1983.

See, City of Canton v. Harris, 489 U.S. 378, 388 (1989).

 

98. Deliberate indifference to a training need may be established when a
policymaker has knowledge of a “pattern of similar constitutional violations by
untrained employees” but takes no action to augment or alter the municipality’s

employee training programs accordingly. See, Lapella v. City of Atl. City, No. 10-

 

2454, 2012 WL 2952411 at *7 (D.N.J. July 18, 2012)(citing Connick _v.

Thompson, 131 S.Ct. 1350, 1360 (2011)); Bielevicz v. Dubinon, 915 F.2d 845,

 

851(3rd Cir. 1990).

99. OFPD maintained, tolerated, permitted and acquiesced in policies,
practices and customs that among other things subjected persons to unlawful
seizures and subjected persons to false arrests among other dangerous and unlawful
violations of persons’ constitutional rights.

100. These policies, practices and customs were the moving force that

resulted in the Plaintiff's constitutional and statutory rights being violated.

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101. It is believed that discovery will further reveal that OFPD knew of a
“pattern of similar constitutional violations” by improperly trained and improperly

supervised employees.

102. Further it is believed that discovery will reveal that OFPD condoned
and/or encouraged officers in the belief that violations of the rights of persons
would not be deemed a dereliction of duty or in violation of the sworn oath of
police officers in the Commonwealth of Pennsylvania, and that such conduct
would and will not adversely affect those officers’ opportunities for promotion

and/or other employment benefits.

103. It is also believed that discovery will reveal these actions and/or
inactions by OFPD, were conducted and/or not conducted with deliberate
indifference, gross negligence and reckless disregard to the safety, security and

constitutional rights of persons, specifically in this case ROSSI.

104. These policies, customs and practices were the moving force behind

the deprivation of the Plaintiff's rights.

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COUNT SIX
Plaintiff ROSSI v. All Defendants

(Intentional Infliction of Emotional Distress)

 

105. Plaintiff repeats and alleges again each and every allegation
contained in paragraphs one (1) through one hundred four (104) as if fully
repeated herein.

106. Defendants, by their extreme and outrageous conduct, intentionally

or recklessly caused ROSSI to suffer severe emotional distress.

PRAYER FOR RELIEF

 

WHEREFORE, Plaintiff respectfully requests this Honorable Court:

A. — Enter judgment in favor of the Plaintiff against the Defendants;

B. — Enter an order declaring Defendant BUGGEY-DAVIES’ conduct
unconstitutional;

C. | Award the Plaintiff compensatory and punitive damages against the
Defendants;

D. Award the Plaintiff’s counsel reasonable attorneys’ fees and costs
pursuant to 42 U.S.C. §1988 and any other applicable provisions of law;

E. — Enter a permanent injunction, upon proper motion, requiring
Defendant OFPD to adopt appropriate policies related to the hiring, training,

supervision and discipline of its officers; and

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F, Grant to the Plaintiff such other and further relief as may be just and

proper under the circumstances, including by not limited to appropriate injunctive

relief.

JURY TRIAL DEMAND

Plaintiff demands a jury trial, pursuant to the Seventh Amendment to the

Constitution of the United States, as to all claims for damages.

Respectfully submitted:

THE MATTIOLI LAW FIRM
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